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 9 Lexington, Kentucky 40507
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11 Special Counsel to Richard A. Marshack, Chapter 11 Trustee

12

13                          UNITED STATES BANKRUPTCY COURT

14               CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION

15

16 In re:                                           Case No.: 8:23-bk-10571-SC

17 THE LITIGATION PRACTICE GROUP P.C.,              Chapter 11

18          Debtor.                                 DECLARATION OF TYLER POWELL IN
                                                    SUPPORT OF THE OPPOSITION TO
19                                                  MOTION FOR RELIEF FROM THE
                                                    AUTOMATIC STAY UNDER 11 U.S.C. §
20                                                  362 FILED BY MERCHANTS CREDIT
                                                    CORPORATION
21

22
                                                    Date: January 17, 2024
23                                                  Time: 1:30 p.m.
                                                    Judge: Hon. Scott C. Clarkson
24                                                  Place: Courtroom 5C
                                                           411 W. Fourth Street
25                                                         Santa Ana, CA 92701

26

27

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 1                                DECLARATION OF TYLER POWELL
 2          I, Tyler Powell, declare as follows:

 3          1.      I am an attorney in the bankruptcy department at Dinsmore & Shohl LLP (“Dinsmore”

 4 or the “Firm”), special counsel to Richard A. Marshack, Chapter 11 Trustee (the “Trustee”) for The

 5 Litigation Practice Group, P.C. (the “Debtor” or “LPG”) in the above-captioned bankruptcy case (the

 6 “Case”). I am one of the attorneys at Dinsmore with responsibility for representation of the Trustee.

 7 I have personal knowledge of the facts in this declaration and, if called as a witness, I could and would

 8 testify competently thereto. Capitalized terms not otherwise defined herein have the same meanings

 9 ascribed to them in the pleading to which this declaration is attached.

10          2.      I contacted Robert Mitchell, Esq. in Spokane Washington who is counsel of record for

11 LPG in the Washington state lawsuit filed by MCC. Mr. Mitchell provided me the copies of both (i)

12 MCC’s Third-Party Complaint which is attached to the Opposition as Exhibit 1, and (ii) the Judgment

13 dated May 18, 2022, which is attached to the Opposition as Exhibit 2 from his file. Upon information

14 and belief, I believe these pleadings to be true and accurate copies of the actual pleadings filed in the

15 underlying Washington state court case.

16          I declare under penalty of perjury under the laws of the United States of America that the

17 foregoing is true and correct.

18
19 Dated: January 3, 2024                                             /s/ Tyler Powell
                                                                          Tyler Powell
20

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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

DINSMORE & SHOHL LLP
655 West Broadway, Suite 800
San Diego, California 92101

A true and correct copy of the foregoing document entitled (specify): DECLARATION OF TYLER POWELL IN SUPPORT
OF THE OPPOSITION TO MOTION FOR RELIEF FROM THE AUTOMATIC STAY UNDER 11 U.S.C. § 362 FILED BY
MERCHANTS CREDIT CORPORATION

will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On January
3, 2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Eric Bensamochan                                                              eric@eblawfirm.us
on behalf of Creditor Affirma, LLC                                            G63723@notify.cincompass.com
Eric Bensamochan                                                              eric@eblawfirm.us
on behalf of Creditor Oxford Knox, LLC                                        G63723@notify.cincompass.com

                                                                            Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On          , I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on January 3, 2024, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                    JUDGE'S COPY - VIA FEDEX
                                                     Honorable Scott C. Clarkson
                                      United States Bankruptcy Court, Central District of California
                                           Ronald Reagan Federal Building and Courthouse
                                          411 West Fourth Street, Suite 5130 / Courtroom 5C
                                                      Santa Ana, CA 92701-4593

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 January 3, 2024                Angelica Urena                                          /s/ Angelica Urena
 Date                           Printed Name                                            Signature

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1.      TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

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Eric Bensamochan                                                              eric@eblawfirm.us
on behalf of Interested Party Courtesy NEF                                    G63723@notify.cincompass.com
Eric Bensamochan                                                              eric@eblawfirm.us
on behalf of Interested Party Eric Bensamochan                                G63723@notify.cincompass.com
Peter W Bowie                                                                 peter.bowie@dinsmore.com
on behalf of Trustee Richard A Marshack (TR)                                  caron.burke@dinsmore.com
Ronald K Brown                                                                ron@rkbrownlaw.com
on behalf of Creditor SDCO Tustin Executive Center, Inc.
Christopher Celentino                                                         christopher.celentino@dinsmore.com
on behalf of Plaintiff Richard A. Marshack                                    caron.burke@dinsmore.com
Christopher Celentino                                                         christopher.celentino@dinsmore.com
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on behalf of Interested Party Courtesy NEF                                    schristianson@buchalter.com
Randall Baldwin Clark                                                         rbc@randallbclark.com
on behalf of Interested Party Randall Baldwin Clark
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on behalf of Defendant Rosa Bianca Loli                                       jaime@lesliecohenlaw.com
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                                                                              clare@lesliecohenlaw.com
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                                                                              adeleest@ecf.inforuptcy.com
Michael T Delaney                                                             mdelaney@bakerlaw.com
on behalf of Defendant Fidelity National Information                          TBreeden@bakerlaw.com
Services, Inc. dba FIS
Jenny L Doling                                                                jd@jdl.law
on behalf of Interested Party INTERESTED PARTY                                dolingjr92080@notify.bestcase.com
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                                                                              jdoling@jubileebk.net
Jenny L Doling                                                                jd@jdl.law
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Amy Lynn Ginsburg                                                             efilings@ginsburglawgroup.com
on behalf of Creditor Amy Ginsbug
Amy Lynn Ginsburg                                                             efilings@ginsburglawgroup.com
on behalf of Creditor Kenton Cobb
Amy Lynn Ginsburg                                                             efilings@ginsburglawgroup.com
on behalf of Creditor Shannon Bellfield
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Jeffrey I Golden                                                              jgolden@go2.law
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Garrick A Hollander                                                           ghollander@wghlawyers.com
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on behalf of Counter-Defendant PurchaseCo 80, LLC
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on behalf of Creditor OHP-CDR, LP
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on behalf of Plaintiff OHP-CDR, LP
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on behalf of Interested Party Courtesy NEF                                    cheryl.caldwell@gmlaw.com
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on behalf of Interested Party Liberty Acquisitions Group Inc.                 cheryl.caldwell@gmlaw.com
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Britteny Leyva                                                                bleyva@mayerbrown.com
on behalf of Interested Party Revolv3, Inc.                                   2396393420@filings.docketbird.com
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                                                                              ladocket@mayerbrown.com
Michael D Lieberman                                                           mlieberman@lipsonneilson.com
on behalf of Creditor Phillip A. Greenblatt, PLLC
Yosina M Lissebeck                                                            yosina.lissebeck@dinsmore.com
on behalf of Counter-Claimant Richard A. Marshack                             caron.burke@dinsmore.com
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on behalf of Defendant Richard A. Marshack                                    caron.burke@dinsmore.com
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on behalf of Plaintiff Richard A. Marshack                                    caron.burke@dinsmore.com
Yosina M Lissebeck                                                            yosina.lissebeck@dinsmore.com
on behalf of Trustee Richard A Marshack (TR)                                  caron.burke@dinsmore.com
Mitchell B Ludwig                                                             mbl@kpclegal.com
on behalf of Creditor Fundura Capital Group                                   kad@kpclegal.com
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on behalf of Creditor Greyson Law Center PC                                   kmarch3@sbcglobal.net
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Kathleen P March                                                              kmarch@bkylawfirm.com
on behalf of Creditor Han Trinh                                               kmarch3@sbcglobal.net
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Kathleen P March                                                              kmarch@bkylawfirm.com
on behalf of Creditor Phuong (Jayde) Trinh                                    kmarch3@sbcglobal.net
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Kathleen P March                                                              kmarch@bkylawfirm.com
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on behalf of Creditor David Orr                                               markjmarkus@gmail.com
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Richard A Marshack (TR)                                                       pkraus@marshackhays.com
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                                                                              ecf.alert+Marshack@titlexi.com
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                                                                              ecf.alert+Marshack@titlexi.com
Laila Masud                                                                   lmasud@marshackhays.com
on behalf of Interested Party Richard A. Marshack                             lmasud@ecf.courtdrive.com
                                                                              ecf.alert+Marshack@titlexi.com
Laila Masud                                                                   lmasud@marshackhays.com
on behalf of Plaintiff Richard Marshack                                       lmasud@ecf.courtdrive.com
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Laila Masud                                                                   lmasud@marshackhays.com
on behalf of Trustee Richard A. Marshack (TR)                                 lmasud@ecf.courtdrive.com
                                                                              ecf.alert+Marshack@titlexi.com
Sarah S. Mattingly                                                            sarah.mattingly@dinsmore.com
on behalf of Plaintiff Richard A Marshack, Chapter 11
Trustee
Sarah S. Mattingly                                                            sarah.mattingly@dinsmore.com
on behalf of Plaintiff Richard A. Marshack
Kenneth Misken                                                                Kenneth.M.Misken@usdoj.gov
on behalf of U.S. Trustee United States Trustee (SA)
Byron Z Moldo                                                                 bmoldo@ecjlaw.com
on behalf of Interested Party Byron Moldo                                     amatsuoka@ecjlaw.com
                                                                              dperez@ecjlaw.com
Glenn D. Moses                                                                gmoses@venable.com
on behalf of Creditor ADP, Inc.                                               cascavone@venable.com
                                                                              ipmalcolm@venable.com
                                                                              jadelgado@venable.com
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on behalf of Interested Party Courtesy NEF                                    jdale@mbn.law
Victoria Newmark                                                              vnewmark@pszjlaw.com
on behalf of Interested Party Courtesy NEF
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on behalf of U.S. Trustee United States Trustee (SA)
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on behalf of Plaintiff Richard A. Marshack
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on behalf of Trustee Richard A Marshack (TR)
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on behalf of Creditor United Partnerships, LLC                                info@fortislaw.com
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